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                                                                                     UNITED STATES DISTRICT COURT
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                                                                                   CENTRAL DISTRICT OF CALIFORNIA
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                                                          SANDRA E. LISH,                                  )   CASE NO.: 2:20-cv-07147-JFW-JPR
                                                     17                                                    )
                                                     18                                 Plaintiff,         )   AMERIHOME MORTGAGE
                                                                                                           )   COMPANY, LLC’S REPLY IN
                                                     19           vs.                                      )   SUPPORT OF MOTION TO
                                                     20                                                    )   DISMISS FIRST AMENDED
                                                          AMERIHOME MORTGAGE                               )   COMPLAINT
                                                     21   COMPANY, LLC,                                    )
                                                     22                                                    )   Date: November 16, 2020
                                                                                        Defendant.         )   Time: 1:30 p.m.
                                                     23                                                    )   Place: Courtroom 7A
                                                     24                                                    )   Hon. John F. Walter
                                                                                                           )
                                                     25                                                    )   Complaint Filed: August 9, 2020
                                                     26                                                    )
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                                                                        REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
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                                                                                                                           iii
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                                                      1           Defendant AmeriHome Mortgage Company, LLC (“AmeriHome”) submits the
                                                      2   following reply in support of its motion to dismiss the First Amended Complaint
                                                      3   (“FAC”) filed by Sandra E. Lish (“Lish”)1.
                                                      4           Contrary to the characterizations in Lish’s opposition to AmeriHome’s motion
                                                      5   to dismiss the FAC, the telephonic payment fees at issue are not charges incidental to
                                                      6   a debt and do not constitute debt collection. Rather, the charge for making a payment
                                                      7   by telephone is a fee a customer voluntarily pays if he or she chooses to use the
                                                      8   convenience service offered by AmeriHome. The fee is separate from Lish’s loan
                                                      9   because Lish controls whether she uses the service and, in exchange, agrees to pay the
                                                     10   fee. There are many ways Lish could pay her mortgage without incurring any fee. She
                                                     11   is not required to pay using the telephonic system AmeriHome makes available for its
                                                     12   borrowers’ convenience. She elected to take advantage of that convenience and to pay
                                                     13   a fee for it2.
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                                                     14            Moreover, the Mortgage identifies the types of fees, costs, or services which
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                                                     15   are incidental to the underlying loan debt and provides direction on how those fees
                                                     16   incidental to the loan are to be applied to the debt and repaid. The convenience fees at
                                                     17   issue, however, are not incidental to the debt but rather are a point of service charge
                                                     18   that is collected immediately when the service is provided and is not added to the loan
                                                     19   debt or in any way measured by or incidental to any provision of the Note or
                                                     20   Mortgage. Lish was not required to use the online service to pay her mortgage – nor
                                                     21   was AmeriHome required to offer the service to her. There is simply nothing
                                                     22

                                                     23   1
                                                           Lish filed her response in opposition to AmeriHome’s Motion to Dismiss on October 27, 2020.
                                                     24   (Dkt. 24.) Because it was filed after 4:00 PM on October 27, 2020, the response was effectively 2
                                                          days late pursuant to the Standing Order issued August 11, 2020. (Dkt. 8.)
                                                     25
                                                          2
                                                            Lish argues in her opposition that AmeriHome is making a veiled argument under the voluntary
                                                     26
                                                          payment doctrine. AmeriHome, however, has not advanced such an argument in its Motion to
                                                     27   Dismiss the FAC. While the payment of the convenience fee was very much voluntary, the Motion
                                                          to Dismiss argues that the voluntary nature of the payment confirms that the convenience fee was not
                                                     28   incidental to the debt. But, AmeriHome does reserve the right to raise a defense under the voluntary
                                                          payment doctrine when appropriate.
                                                                                                             1
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                                                      1   unlawful, unfair, or deceptive about a bank charging a fee to use an optional
                                                      2   convenience service – especially where, as here, Lish had free options available to
                                                      3   make her mortgage payment.
                                                      4             Lish had complete control as to how she made her payments and if she did not
                                                      5   want to incur a fee to use the telephonic payment service, she could have paid her
                                                      6   mortgage using any of the other available methods. Yet, being fully apprised of those
                                                      7   options and the potential fees, she chose to take advantage of a system AmeriHome
                                                      8   provided for her convenience – in exchange for payment of a fee to use it. Worse still,
                                                      9   Lish, a Florida resident with a mortgage on a property in Florida, is improperly
                                                     10   asserting causes of action under California law. Each of her claims must fail as a
                                                     11   result.
                                                     12   I.        LEGAL ARGUMENT
                                                     13             A.    Lish’s claims for violations of California statutes fail because her
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                                                     14                   alleged injuries occurred in Florida.
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                                                     15             Lish’s opposition asserts that her conclusory allegations regarding
                                                     16   AmeriHome’s business practices are sufficient to allow Lish, a Florida resident, to
                                                     17   make claims for violations of California statutes, not only on her behalf, but on behalf
                                                     18   of a nationwide class.
                                                     19             In order for a non-resident to invoke a California statute, however, he or she
                                                     20   must allege that there is a “significant contact or significant aggregation of contacts”
                                                     21   linking its injuries or the defendant’s alleged misconduct to the State of California.
                                                     22   Norwest Mortg., Inc. v. Superior Court, 72 Cal. App. 4th 214, 222 (1999). While Lish
                                                     23   cites several cases in her opposition in which out-of-state parties were entitled to
                                                     24   invoke California statutes, she does not address the deficiencies in her allegations
                                                     25   regarding any conduct occurring in California that harmed her.
                                                     26             Not only does the FAC contain no facts to support any finding that Lish was
                                                     27   harmed in California, even her claims about AmeriHome’s general business practices
                                                     28   are based merely upon information and belief. Am. Compl., ¶ ¶ 41-42.
                                                                                                            2
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                                                      1           Specifically, Lish alleges that AmeriHome’s convenience fees “occur in and
                                                      2   emanate from California.” Am. Compl., ¶ 43. But, her only allegations in support of
                                                      3   such a conclusion are that, upon information and belief, AmeriHome and its
                                                      4   executives somehow implemented the convenience fees from California, that
                                                      5   AmeriHome issued all disclosures concerning the charging of convenience fees from
                                                      6   California, that AmeriHome uses computer systems and other-payment processing
                                                      7   technology operated and controlled in California, and the convenience fees are “paid
                                                      8   by borrowers in bank accounts that it maintains at financial institutions located in
                                                      9   California.” Am. Compl., ¶ ¶ 41-42. Conclusory allegations such as these are
                                                     10   insufficient to state a cause of action. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
                                                     11   (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)).
                                                     12           Even the cases cited by Lish in her opposition make clear that the contacts
                                                     13   between the defendant and California must be “significant” and factually supported in
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                                                     14   order to apply California statutes to non-residents. See, Red v. Kraft Foods, Inc., CV
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                                                     15   10-1028-GW AGRX, 2011 WL 4599833, at *6 (C.D. Cal. Sept. 29, 2011) (denying
                                                     16   request to certify nationwide class where allegations were insufficient to apply
                                                     17   California statutes to non-residents); Badella v. Deniro Mktg., LLC, C 10-03908 CRB,
                                                     18   2011 WL 5358400, at *11 (N.D. Cal. Nov. 4, 2011) (denying request to certify
                                                     19   nationwide class where allegations that misrepresentations occurred in California were
                                                     20   not factually supported).
                                                     21           Lish’s unsupported allegations are simply insufficient to allow a Florida
                                                     22   resident to enforce California statues, and her California claims should be dismissed,
                                                     23   especially where Lish has already attempted to amend her claims to state a cause of
                                                     24   action.
                                                     25           B.     The convenience fees are not incidental to the debt, and therefore, do
                                                     26
                                                                         not violate the Rosenthal Act or the UCL.

                                                     27           Lish’s causes of action under the Rosenthal Act and the UCL are premised on
                                                     28   alleged violations of section 1692(f)(1) of the FDCPA because, she claims, the fees
                                                                                                           3
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                                                      1   are not expressly provided for in her Mortgage and are not authorized by statute. Am.
                                                      2   Compl., ¶¶ 92, 98. Lish, however, failed to allege that she was the object of collection
                                                      3   activity as she does not (and cannot) allege that AmeriHome ever characterized the
                                                      4   convenience fees as part of her debt. Because the fees she paid were not part of her
                                                      5   debt, AmeriHome was not engaging in any collection activity when Lish paid the fee
                                                      6   to use the telephonic payment service.
                                                      7           Nor does she allege that AmeriHome ever demanded she use the telephonic
                                                      8   payment service to make her mortgage payment. See Elmore v. Ne. Fla. Credit
                                                      9   Bureau, Inc., Case No. 3:10-cv-573-J-37JBT, 2011 WL 4480419, *4 (M.D. Fla. Sept.
                                                     10   27, 2011) (charge did not violate section 1692(f)(1) because it was not added to the
                                                     11   total amount owed). Notwithstanding cases to the contrary, Elmore correctly found
                                                     12   that a fee that is not added to the total amount owed (and is instead collected at the
                                                     13   time of the transaction) cannot be collection activity. Id. (charge did not violate
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                                                     14   section 1692(f)(1) because it was not added to the total amount owed).
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                                                     15           Because AmeriHome did not demand or require that Lish use the optional
                                                     16   telephonic payment service, Lish’s voluntary choice to use the payment service for her
                                                     17   own convenience and to pay the disclosed fee associated therewith does not amount to
                                                     18   “collection activity” on the part of AmeriHome. Lish seeks to impose liability on
                                                     19   AmeriHome because it provided an optional convenience service to make her
                                                     20   mortgage payment. AmeriHome was not required to offer the online payment service
                                                     21   to Lish nor was she required to use it. It is simply not unfair or unconscionable for a
                                                     22   mortgage servicer to offer an optional convenience service for a fee. Lish’s Rosenthal
                                                     23   Act claim, and the derivative UCL claim, should therefore be dismissed.
                                                     24           C.     The convenience fees do not violate the FCCPA.
                                                     25           Lish’s opposition fails to even address the multitude of Florida cases that have
                                                     26   dismissed FCCPA lawsuits based on convenience fees.
                                                     27           As pointed out in AmeriHome’s Motion to Dismiss, the issue of convenience
                                                     28   fees being collected in order to make a payment online or by telephone has been
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                                                      1   “heavily litigated in federal courts in both the Middle and Southern Districts of
                                                      2   Florida.” Kelly v. Ocwen Loan Servicing, LLC, 3:20-CV-50-J-32JRK, 2020 WL
                                                      3   4428470, at *2 (M.D. Fla. July 31, 2020). Courts in both districts have reached the
                                                      4   conclusion that similar convenience fees for telephonic or online mortgage payments
                                                      5   are not unlawful under either the FDCPA or FCCPA because the convenience fees are
                                                      6   not a debt being collected by a debt collector. Lang v. Ocwen Loan Servicing, 3:20-
                                                      7   CV-81-J-20MCR, 2020 WL 5104522, at *3 (M.D. Fla. July 17, 2020) (“Speedpay is a
                                                      8   convenience fee and is not a debt owned by another. Even if the Speedpay fee was a
                                                      9   debt, Ocwen is not a debt collector—the debt was not in default, it originated with
                                                     10   Ocwen, and it was not ‘due another.’ In total, Plaintiff's claims are not actionable
                                                     11   under either the FDCPA or FCCPA.”); Turner v. PHH Mortgage Corp., 8:20-CV-
                                                     12   137-T-30SPF, 2020 WL 2517927, at *3 (M.D. Fla. Feb. 24, 2020) (“So because the
                                                     13   Court concludes PHH was collecting a fee for a separate, optional service, that the fee
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                                                     14   for such service originated with PHH, and that Turner was not in default when PHH
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                                                     15   collected the fee for the service, PHH is not a ‘debt collector’ under the FDCPA or
                                                     16   FCCPA. The Court, therefore, must dismiss this action with prejudice.”); Estate of
                                                     17   Campbell v. Ocwen Loan Servicing, LLC, 20-CV-80057, 2020 WL 5104538, at *2
                                                     18   (S.D. Fla. Apr. 30, 2020) (“The Court is most persuaded by Judge Moody's well-
                                                     19   reasoned, commonsense approach and analysis in Turner v. Ocwen Loan Servicing,
                                                     20   LLC, No. 8:20-cv-137-T-30SPF, 2020 WL 2517927 (M.D. Fla. Feb. 24, 2020).”).
                                                     21                  AmeriHome is simply not a debt collector and the convenience fees are
                                                     22   not a debt that AmeriHome is seeking to enforce. In the Estate of Campbell v. Ocwen
                                                     23   Loan Servicing, LLC, the court asked and answered the same dispositive question as
                                                     24   this Court must answer: “Is the ‘convenience fee’ part of the debt Defendant sought to
                                                     25   collect? The answer is no.” Campbell, 2020 WL 5104538, at *2 (emphasis added).
                                                     26                  Further, the convenience fees are not an amount “due or owed to
                                                     27   another.” Turner, 2020 WL 2517927, at *2. The convenience fee is not referenced in
                                                     28   Plaintiff’s loan documents and is only collected by and paid to AmeriHome at the time
                                                                                                           5
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                                                      1   of a telephonic payment. Am. Compl. ¶ 3; Am. Compl., Ex. A. AmeriHome,
                                                      2   therefore, is not a debt collector with regard to the convenience fees.
                                                      3                  Second, the convenience fees do not qualify as “debt.” An optional fee
                                                      4   for an optional service, a service not required by the underlying loan documents, is not
                                                      5   a “debt” that Plaintiff is obligated to pay under the FCCPA. Turner, 2020 WL
                                                      6   2517927 at *2 (“Turner used PHH's optional Speedpay service to ensure same-day
                                                      7   posting and processing of her mortgage payments. This optional service had a separate
                                                      8   fee that originated with PHH—not Turner's mortgagee. And when Turner became
                                                      9   obligated to pay the convenience fee, Turner was not in default in her obligation to
                                                     10   pay it. So PHH was not operating as a debt collector under the FDCPA or FCCPA
                                                     11   when it collected the convenience fee in exchange for its Speedpay service.”). Just
                                                     12   like the Plaintiff in Turner, Plaintiff was not required to make her mortgage payment
                                                     13   by telephone and could simply have avoided paying a fee by making her payment by
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                                                     14   other means. The convenience fee was only applied so that Plaintiff could assure a
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                                                     15   same-day payment by telephone and avoid incurring late fees.
                                                     16                  Because AmeriHome is neither a debt collector nor a debt collector
                                                     17   collecting a debt owed another under Florida law, the FCCPA claim should be
                                                     18   dismissed.
                                                     19           D.     The convenience fees do not violate FDUTPA.
                                                     20                  Lish urges this Court to find that charging convenience fees to collect a
                                                     21   mortgage payment is an exception to the general rule that loan servicing or debt
                                                     22   collection is not considered “trade or commerce” under FDUTPA. She contends that
                                                     23   her FDUTPA claim is permitted based on allegations that charging a convenience fee
                                                     24   is a service that is separate from loan servicing or that AmeriHome is collecting debts
                                                     25   not legitimately owed.
                                                     26                  First, Lish’s claim is premised entirely on AmeriHome’s receipt of
                                                     27   mortgage payments – a core function of loan servicing. She does not allege that
                                                     28   AmeriHome advertised, solicited, provided, offered, distributed, sold, or rented, any
                                                                                                           6
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                                                      1   good or service. Thus, Lish’s allegations concern loan servicing conduct that does not
                                                      2   constitute trade or commerce – even if she alleges misconduct in connection with loan
                                                      3   servicing.
                                                      4                   While Lish cites to a single case in which a court found that a plausible
                                                      5   FDUTPA claim was alleged based on convenience fees (Alvarez v. LoanCare, LLC,
                                                      6   2020 WL 5514410 (S.D. Fla. August 28, 2020)), even the additional cases cited by
                                                      7   Lish confirm that FDUTPA only applies to loan servicers where fees were charged for
                                                      8   services unrelated to loan servicing or where a fee was charged that a loan servicer
                                                      9   was not entitled to collect. For example, in Alhassid, the plaintiff alleged that the
                                                     10   defendant placed loans in default and then used the “default” status to impose force-
                                                     11   placed insurance, accelerate the loan, charge for services never performed, and
                                                     12   foreclose. Alhassid v. Bank of Am. N.A., 60 F. Supp. 3d 1302, 1308-1309 (S.D. Fla.
                                                     13   2014). While the court recognized that FDUTPA does not apply to loan collection
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                                                     14   activities even if those activities were improper, the FDUTPA claim survived
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                                                     15   dismissal because “certain of the unauthorized activities complained of” came within
                                                     16   FDUTPA’s scope – specifically, billing the plaintiff for services never performed.
                                                     17   Id. at 1324.
                                                     18                   Multiple courts have found that it was charging for services not actually
                                                     19   performed that was critical to the holding in Alhassid. See, e.g., Cornette v. I.C. Sys.
                                                     20   Inc., 280 F. Supp 1362, 1374 (S.D. Fla. 2017) (declining to apply Alhassid); Steinberg
                                                     21   v. Provident Funding Assocs., L.P., No. 15-cv-0373, 2016 WL 3361815 (N.D. Cal.
                                                     22   June 17, 2016) (same). Unlike Alhassid and similar to Cornette and Steinberg, Lish
                                                     23   admits her mortgage is legitimate and owed and concedes that the service she paid for
                                                     24   was requested by her and performed for her benefit. Her FDUTPA claim, therefore,
                                                     25   fails.
                                                     26            E.     Convenience fees are not prohibited by the Mortgage.
                                                     27            With regard to her breach of contract claim, Lish’s opposition argues that
                                                     28   AmeriHome cannot charge a fee to use its pay-by-phone service because no such fees
                                                                                                            7
                                                                         REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                                          83884394v.1
                                                                          Lish v. AmeriHome Mortgage Company, LLC, Case No. 2:20-cv-07147-JFW-JPR
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                                                      1   are provided for in the Mortgage and the fees violate Florida law – specifically the
                                                      2   FCCPA and FDUTPA. The Mortgage, however, states that the “Lender may not
                                                      3   charge fees that are expressly prohibited by this Security Instrument or by Applicable
                                                      4   Law.” Am. Compl., Ex. A, ¶14. Just as the Northern District found in Torliatt, it is
                                                      5   far from settled that convenience fees are expressly prohibited under Florida law. In
                                                      6   fact, multiple courts have recently found that they are not prohibited at all and have
                                                      7   dismissed similar actions. See, Bardak v. Ocwen Loan Servicing, LLC, 8:19-CV-1111-
                                                      8   24TGW, 2020 WL 5104523, at *4 (M.D. Fla. Aug. 12, 2020); Lang v. Ocwen Loan
                                                      9   Servicing, 3:20-CV-81-J-20MCR, 2020 WL 5104522, at *3 (M.D. Fla. July 17, 2020);
                                                     10   Turner v. PHH Mortgage Corp., 8:20-CV-137-T-30SPF, 2020 WL 2517927, at *3
                                                     11   (M.D. Fla. Feb. 24, 2020); Estate of Campbell v. Ocwen Loan Servicing, LLC, 20-
                                                     12   CV-80057, 2020 WL 5104538, at *2 (S.D. Fla. Apr. 30, 2020); Turner v. Ocwen Loan
                                                     13   Servicing, LLC, No. 8:20-cv-137-T-30SPF, 2020 WL 2517927 (M.D. Fla. Feb. 24,
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                                                     14   2020).
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                                                     15           And the fees are certainly not prohibited by the Mortgage itself. Lish’s
                                                     16   Mortgage does not dictate how Lish is to make her mortgage payments – nor does it
                                                     17   specify what (if any) fees can or cannot be charged for providing telephonic payment
                                                     18   services. The Mortgage simply does not prohibit AmeriHome from charging a fee for
                                                     19   telephonic payments. But it does specifically say that the failure to include a specific
                                                     20   fee “shall not be construed as a prohibition of the charging of such fee.” Am. Compl.,
                                                     21   Ex. A at ¶ 14. Thus, payment methods and fees for telephonic payments are not part of
                                                     22   the contract formed by the Mortgage, let alone expressly prohibited.
                                                     23   II.     CONCLUSION
                                                     24           For all these reasons, AmeriHome respectfully requests that this Court grant its
                                                     25   motion to dismiss the FAC in its entirety.
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                                                      1   Dated: November 2, 2020                    Respectfully submitted,
                                                      2                                              LOCKE LORD LLP
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                                                                                                     By: /s/ Regina J. McClendon
                                                      5                                                    Regina J. McClendon
                                                      6                                                    Thomas J. Cunningham
                                                                                                     Attorneys for Defendant AmeriHome Mortgage
                                                      7                                              Company, LLC
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